                      Case 1:22-cr-00170-CKK Document 1 Filed 06/25/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   TREVOR BROWN
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                          in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                    Clarke Gardner Burns, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                            Digitally signed by G. Michael
                                                                                                            Harvey
                                                                                                            Date: 2021.06.25 10:57:35 -04'00'
Date:             06/25/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
